Case 3:21-cv-11757-BRM-DEA Document 1 Filed 05/26/21 Page 1 of 5 PageID: 1




 GARVEY, BALLOU
 A PROFESSIONAL CORPORATION

 COUNSELLORS AT LAW
 204 COURT HOUSE LANE
 P.O. BOX 5070
 TOMS RIVER, NEW JERSEY 08754-5070
 (732) 341-1212
 Attorneys for Defendant, Costco
 Our File No.     131.25602- RAB/dg
 Attorney ID#: 017381982

                                     UNITED STATES DISTRICT COURT OF NEW JERSEY

                                                        SUPERIOR COURT OF NEW JERSEY
                                                        LAW DIVISION: OCEAN COUNTY
     STEVE MCLEOD                                            DOCKET NO. OCN L901-20
                         Plaintiff(s),                                Civil Action
     vs.
                                                           Notice To Adversary of
     COSTCO WHOLESALE                                         Removal of Action
                         Defendant(s)


 TO:       Steve McLeod
           105 Ariel Place
           Brick, NJ 08724
           Pro se plaintiff

 Sir/Madam:

       PLEASE TAKE NOTICE that in the above-entitled action, defendant,
 Costco Wholesale Corporation, have this day filed a Notice of Removal, a
 copy of which is attached hereto, in the Office of the Clerk of the United
 States District Court for the District of New Jersey. You are also advised
 that the defendant, upon filing of said Notice of Removal, filed a copy of
 the Notice with the Clerk of the Superior Court of New Jersey, Law Division
 Ocean County, which has effected this removal, in accordance with 28 U.S.C.
 § 1446 (B).
                                                       GARVEY   BALLOU
                                                 BY:   /s/ Robert A. Ballou, Jr.
                                                       ROBERT A. BALLOU, JR., ESQ.
                                                       Attorneys for Defendant
                                                       Costco Wholesale Corporation
 DATED: May 20, 2021
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 GARVEY, BALLOU
 A PROFESSIONAL CORPORATION
 COUNSELLORS AT LAW
 PO Box 730
 Allenwood, NJ 08720
 (732) 341-1212
 Attorneys for Defendant(s), Costco Wholesale Corporation
 Our File No.    131.25602 RAB/dg
 Attorney ID#: 017381982

                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

     STEVE MCLEOD                                    SUPERIOR COURT OF NEW JERSEY
                                                      LAW DIVISION: OCEAN COUNTY
                         Plaintiff(s),                 DOCKET NO. OCN-L-901-21
     vs.
                                                                 Civil Action
     COSTCO WHOLESALE CORPORATION,
     JOHN DOE(s) 1-10 (fictitious
                                                          NOTICE OF REMOVAL
     names representing unknown
     individuals) and/or XYZ CORP(s).
     1-10 (fictitious names
     representing unknown
     corporations, partnerships
     and/or Limited Liability
     Companies or other types of
     legal entities)

                         Defendant(s)



           Notice of Removal of State Court Action to U.S. District Court

      PLEASE TAKE NOTICE that defendant, Costco Wholesale Corporation
 (“Costco”), through its undersigned counsel, hereby files this Notice of
 Removal pursuant to 28 U.S.C. §1446. Costco hereby removes to the District
 Court of New Jersey all claims and causes of action in the civil action
 Steve McLeod v Costco Wholesale Corporation, Docket No. OCN-L-901-21, now
 pending in the Superior Court of New Jersey, Law Division, Ocean County
 (the “State Court Action”).

 The grounds for removal are as follows:

 28 U.S.C. § 1446

      1.    On April 6, 2021, plaintiff, residing in Brick, Ocean County,
 New Jersey, filed a Complaint in the Superior Court, Law Division, Ocean
 County against Costco Wholesale Corporation asserting a claim under State
 Law.

      2.   This Notice of Removal is filed in the United States District
 Court for the District of New Jersey, the District Court of the United

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 States for the District and Division within which the State Action is
 pending. 28 U.S.C. § 1446(a); 1441(a).

      3.    This Notice of Removal is signed pursuant to Rule 11 of the
 Federal Rules of Civil Procedure. 28 U.S.C. § 1446(a).

      4.    Annexed hereto as Exhibit “A” is a copy of the Complaint and
 process served upon the defendant in the State Action. 28 U.S.C. § 1446(a).

      5.    The Complaint was filed on April 6, 2021, and served upon
 defendant.

      6.    As of this date, none of the defendants have filed a responsive
 pleading in the action commenced by plaintiff in the Superior Court of New
 Jersey, Law Division, Ocean County, and no other proceedings have transpired
 in that action.

      7.    The Complaint arises from the plaintiff’s contention that on
 April 13, 2019, while at Costco Wholesale Store located at 465 Route 70,
 Brick New Jersey he was injured due to flipping off a chair which was
 missing wheels. He claims personal injuries as a result for which he seeks
 damages.

      8.    It appears the amount in controversy will exceed $75,000. In
 that regard, this factor for removal is based upon allegations in the
 Complaint as to the plaintiffs’ injuries as noted above.

       9.   As of the filing of this Notice of Removal, the undersigned has
 no knowledge that any other defendant has been successfully served pursuant
 to 28 U.S.C. § 1446(b)(2)(A) and therefore cannot and need not obtain
 consent of the other named defendant.

      10.   This Notice is now filed with the Court on May 24, 2021, within
 thirty (30) days after the receipt by the defendant, through service or
 otherwise, of a copy of the initial pleading setting forth the claim for
 relief upon which such action or proceeding is based, and within one (1)
 year of commencement of the State Action. 28 U.S.C. § 1446(b).

      11. Annexed hereto as Exhibit “B” is the Notice to the Clerk of the
 Superior Court Ocean County of Removal of Action to the United States
 District Court with regard to the State Action, which will be filed with
 the Clerk upon return of this Notice of Removal stamped “received”. 28
 U.S.C. § 1446(d).

      12. Annexed hereto as Exhibit “C” is the Notice to Adversary of
 Removal of Action, which will be served promptly upon return of this Notice
 of Removal stamped “received”. 28 U.S.C. § 1446(d).


 28 U.S.C. § 1441

      13. This Notice of Removal is filed in the District of New Jersey,
 the District Court of the United States for the District and Division

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 embracing the place where the State Action is pending.             28 U.S.C. §
 1441(a); 1446(a).

      14. The plaintiff is a citizen of the State of New Jersey, residing
 at 105 Ariel Place, Brick, New Jersey 08724.

      15. Defendant, Costco is a Corporation with its principle place of
 business in State of Washington where it was incorporated and where it has
 its principle place of business with corporate headquarters located at 999
 Lake Dr., Issaquah, Washington 98027.

       16. The State Action is a Civil Action of which District Courts of
 the United States have original jurisdiction by virtue of a claim where the
 matter in controversy exceeds the sum or value of Seventy Five Thousand
 ($75,000.00) Dollars, exclusive of interest and costs and is between
 citizens of different states. 28 U.S.C. § 1332(a).

      17. Since our original filing, I have attempted to communicate with
 pro se plaintiff Steve McLeod following-up on my Request for Statement of
 Damages. Pro se plaintiff has not yet returned my phone calls or responded
 to my correspondence requesting he contact me.

      WHEREFORE, please take notice that this cause should proceed in the
 United States District Court for the District of New Jersey, as an action
 properly removed thereto.

                                             GARVEY BALLOU

                                     BY:     /s/ Robert A. Ballou, Jr.
                                             ROBERT A. BALLOU, JR., ESQ.
                                             Attorneys for Defendant
                                             Costco Wholesale Corporation


 Dated:   May 20, 2021




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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY

     STEVE MCLEOD                                        SUPERIOR COURT OF NEW JERSEY
                                                          LAW DIVISION: OCEAN COUNTY
                         Plaintiff(s),                     DOCKET NO. OCN-L-901-21
     vs.
                                                                   Civil Action
     COSTCO WHOLESALE CORPORATION,
     JOHN DOE(s) 1-10 (fictitious                         NOTICE TO THE CLERK OF THE
     names representing unknown                         SUPERIOR COURT OCEAN COUNTY OF
     individuals) and/or XYZ CORP(s).                  REMOVAL OF ACTION TO THE UNITED
     1-10 (fictitious names                                 STATES DISTRICT COURT
     representing unknown
     corporations, partnerships
     and/or Limited Liability
     Companies or other types of
     legal entities)

                         Defendant(s)


     TO:                 Ocean County Superior Court
                         118 Washington Street
                         Toms River, New Jersey


     Sir/Madam:

               PLEASE TAKE NOTICE that attached hereto is a copy of a Notice of Removal

     of this case, which has been filed with the Clerk of the United States District

     Court for the District of New Jersey, removing this action to federal court.

                                                       GARVEY   BALLOU

                                                 BY:   /s/ Robert A. Ballou, Jr.
                                                       ROBERT A. BALLOU, JR., ESQ.
                                                       Attorneys for Defendant
                                                       Costco Wholesale Corporation
 Dated: May 20, 2021




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